Case 1:20-cv-10821-GHW Document 34 Filed 10/01/21 Page 1 of 2

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October 1, 2021
VIA ECF

District Judge Gregory H. Woods
United States District Court
Southern District of New York
500 Pearl Street, Room 2260
New York, NY 10007

Re: — Lenny Molina v. Hornblower Group, Inc., Hornblower New York, LLC and
Hornblower Cruises and Events, LLC
US District Court, Southern District Civil No.: 1:20-cv-10821-GHW
Our File: EVR-1224573

Dear District Judge Woods:

As you will recall, our firm has been retained to represent the interests of the defendants in
the above-referenced matter. We write pursuant to paragraph 2(C) of Your Honor’s individual
rules, as well as paragraph 10 of Your Honor’s Case Management Plan and Scheduling Order
[Docket # 25], in order to initiate the dispositive motion process. In this regard, we hereby
respectfully request a Pre-Motion Conference with Your Honor in accordance with Rule 2C(i) and
Rule 3(E) of Your Honor’s Individual Rules of Practice.

Namely, the defendants hereby request leave to file a Motion for Summary Judgment and
complete dismissal of plaintiff's Complaint in this matter pursuant to Rule 56 of the Federal Rules
of Civil Procedure. This motion is not on consent of all parties.

Briefly, this case involves allegations of disability discrimination, retaliation and wrongful
termination made by LENNY MOLINA (hereinafter “plaintiff’), an employee of Hornblower,
under ADA 42 U.S.C. § 12181, et seq., the New York State Human Rights Law, N.Y. Exec. Law
§ 296, et seq. (“NYSHRL”), and the NYCHRL, N.Y.C Admin Code § 8-107, et seq. Specifically,
plaintiff claims that he sustained an on-the-job injury on March 14, 2020 when a piece of
equipment fell out of a truck and onto his left foot. He is claiming a non-displaced fracture to his
left big toe. Furthermore, plaintiff alleges that this injury rendered him disabled within the
meaning of the Americans with Disabilities Act (“ADA”), 29 C.F.R. § 1630.2(g)(1), and that
Hornblower was placed on notice of the injury on the same date as the occurrence. Additionally,
it is alleged that Hornblower failed to engage in the interactive process required under the ADA to
determine whether any reasonable accommodation could be afforded to plaintiff, and that
Hornblower unlawfully retaliated against plaintiff by terminating his employment.
Case 1:20-cv-10821-GHW Document 34 Filed 10/01/21 Page 2 of 2

October 1, 2021
Page 2

The basis for defendants’ Rule 56 Motion for Summary Judgment is twofold. First and
foremost, plaintiff is not and was not disabled within the meaning of the ADA, the NYSHRL, or
the NYCHRL and, consequently, his claims are not actionable as a matter of law. Therefore,
defendants are entitled to Summary Judgment on the issue the issue of liability. Separately,
defendants are equally entitled to Summary Judgment insofar as the evidence and testimony
adduced to date demonstrates unequivocally that all decisions affecting plaintiff's employment
status were for legitimate, non-discriminatory business considerations, having absolutely nothing
to do with plaintiff's alleged disability. Simply put, the evidence demonstrates that the defendants
did not discriminate against, retaliate against, or wrongfully terminate the plaintiff on the basis of

his purported disability and, thus, defendants cannot be found to have violated either Federal or
State Law.

Defendants hereby propose the following briefing schedule for Your Honor’s approval,
which may obviate the need for convening a Pre-Motion Conference altogether:

¢ Defendant’s Motion for Summary Judgment and supporting papers shall be served by
October 29, 2021;

Plaintiff's Opposition papers shall be served by November 29, 2021; and
e Defendant’s Reply papers shall be served by December 13, 2021.

The defendants also hereby respectfully request permission to file a motion to exclude any
expert testimony and/or evidence offered by plaintiff at the time of trial in accordance with
Individual Rule 3F, and pursuant to Federal Rule of Civil Procedure 26(a)(2)(C).

We thank Your Honor in advance for your time and attention to this matter. Please do not
hesitate to contact the undersigned with any questions or concerns.

Respectfully Submitted,

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cc:

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